     Case 2:19-cv-01879-GW-KS Document 15 Filed 06/25/19 Page 1 of 2 Page ID #:50



1 Kevin Hong (SBN299040)
2 adadvocates@gmail.com
  ADVANCED DISABILITY ADVOCATES
3 3010 Wilshire Blvd. #516
4 Los Angeles, CA 90010
  Telephone: (310) 926-2519
5 Facsimile: (310) 634-1258
6
  Attorneys for Plaintiff
7 YONG KOO
8
9
10
                                 UNITED STATES DISTRICT COURT
11
                            CENTRAL DISTRICT OF CALIFORNIA
12
13                                                   Case No.: 2:19-cv-01879-GW (KSx)
       YONG KOO,
14
                    Plaintiff,                       STIPULATION FOR DISMISSAL
15                                                   PURSUANT TO FEDERAL RULE OF
16           vs.                                     CIVIL PROCEDURE 41(a)(1)(A)(ii)
17                                                   ([Proposed] Order lodged concurrently
       E.M. PIZZA, INC. d/b/a DOMINO’S
18     PIZZA #8358; SUNLAS BUILDING,                 herewith)
19     LLC; and DOES 1 to 10 inclusive,
                                                     Complaint Filed: March 14, 2019
20                  Defendants.                      Trial Date:      None
21
22
23
            IT IS HEREBY STIPULATED, by and between Plaintiff YONG KOO and
24
      Defendant Sunlas Building, LLC that, pursuant to Federal Rule of Civil Procedure
25
      41(a)(1)(A)(ii), the above-captioned action be dismissed in its entirety and with prejudice
26
      as to all claims and causes of action. The parties to this Stipulation are to bear their
27
      respective costs and attorneys’ fees.
28

                                                 -1-
         STIPULATION FOR DISMISSAL PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 41(a)(1)(A)(ii)
     Case 2:19-cv-01879-GW-KS Document 15 Filed 06/25/19 Page 2 of 2 Page ID #:51



 1
 2
      DATED: June 25, 2019             ADVANCED DISABILITY ADVOCATES
 3
 4                                     By: /s/ Kevin Hong
 5                                         Kevin Hong, Esq.
                                           Attorney for Plaintiff
 6
 7
 8
 9 DATED: June 25, 2019                        Law Office of Julie A. Herzog
10
11
                                               By: _ _ __ __Julie A. Herzog__________
12                                                 Julie A. Herzog, Esq.
13                                             Attorneys for Defendant
14
15
16
17                              SIGNATURE CERTIFICATION
18          I hereby certify that the content of this document is acceptable to counsel for
19 Defendant, and that I have obtained opposing counsel’s authorization to affix his
20 electronic signature to this document.
21
22
                                             By: /s/ Kevin Hong
23                                               Kevin Hong, Esq.
24
25
26
27
28

                                                 -2-
         STIPULATION FOR DISMISSAL PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 41(a)(1)(A)(ii)
